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                                                                                    9
                                                                                        Attorneys For Defendants Nationstar
                                                                                   10   Mortgage Llc Dba Mr. Cooper
                 A limited liability partnership formed in the State of Delaware




                                                                                   11   f/k/a Centex Home Equity LLC and Bank of New
                                                                                        York Mellon f/k/a The Bank of New York as
                                                                                   12   Successor in Interest to JP Morgan Chase Bank,
REED SMITH LLP




                                                                                        N.A. as Trustee for Centex Loan Trust 2005-A
                                                                                   13
                                                                                                                       UNITED STATES DISTRICT COURT
                                                                                   14
                                                                                                                      EASTERN DISTRICT OF CALIFORNIA
                                                                                   15
                                                                                        DENISE WALLACE,                                    Case No.:2:18-CV-02768-JAM -DB
                                                                                   16
                                                                                                             Plaintiff,
                                                                                   17                                                      ORDER GRANTING JOINT STIPULATION
                                                                                              vs.                                          FOR EXTENSION OF TIME TO FILE
                                                                                   18
                                                                                                                                           ANSWER TO AMENDED COMPLAINT
                                                                                   19 NATIONSTAR MORTGAGE LLC,
                                                                                      Individually and dba MR. COOPER, CENTEX
                                                                                   20 HOME EQUITY, LLC, THE BANK OF NEW
                                                                                      YORK MELLON, THE MORTGAGE LAW
                                                                                   21 FIRM, and
                                                                                      Does 1-100, Inclusive,
                                                                                   22

                                                                                   23                        Defendants.

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                                                                                         [PROPOSED] ORDER GRANTING JOINT STIPULATION FOR EXTENSION OF TIME TO FILE ANSWER TO
                                                                                                                        AMENDED COMPLAINT
                                                                                    1      ORDER GRANTING JOINT STIPULATION FOR EXTENSION OF TIME TO FILE
                                                                                                          ANSWER TO AMENDED COMPLAINT
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                                                                                    3         The Court, having reviewed the Joint Stipulation for Extension of Time to File Answer to

                                                                                    4 Amended Complaint filed by Defendants Nationstar Mortgage LLC d/b/a Mr. Cooper f/k/a Centex

                                                                                    5 Home Equity Company LLC (erroneously sued as Nationstar Mortgage LLC Individually and DBA

                                                                                    6 Mr. Cooper and Centex Home Equity LLC) and The Bank of New York Mellon f/k/a The Bank of

                                                                                    7 New York as successor in interest to JP Mortgage Chase Bank, N. A. as Trustee for Centex Loan Trust

                                                                                    8 2005-A (erroneously sued as Bank of New York Mellon)(“Defendants”), and Plaintiff, the Court finds

                                                                                    9 that the Joint Stipulation should be GRANTED.

                                                                                   10         IT IS THEREFORE ORDERED that the Joint Stipulation for Extension of Time to File
                 A limited liability partnership formed in the State of Delaware




                                                                                   11 Answer to Amended Complaint is granted. Defendants have up through and including April 15, 2019

                                                                                   12 to file their Answer to the Amended Complaint.
REED SMITH LLP




                                                                                   13 IT IS SO ORDERED.

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                                                                                        DATED: April 10, 2019                     /s/ John A. Mendez_____________
                                                                                   15                                             United States District Court Judge
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                                                                                         [PROPOSED] ORDER GRANTING JOINT STIPULATION FOR EXTENSION OF TIME TO FILE ANSWER TO
                                                                                                                        AMENDED COMPLAINT
